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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

In Re: CATHY MICKENS                                                 Case No. 19-31323-KLP
       2621 Reba Court                                               Chapter 7
       Glen Allen, VA 23060
       SSN: xxx-xx-2707
                          Debtor.


                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE Roy M. Terry, Jr., Chapter 7 Trustee, by counsel, has filed
the Trustee’s Application to Retain BK Global Real Estate Services and Deborah Bacchus of My
Dream Home Realty, Inc. to Procure Consented Public Sale and Memorandum in Support
Thereof (the "Motion"). A copy of the Motion is attached hereto.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one. (If you do not have an attorney, you may wish to
consult one.)

        If you do not want the court to grant the relief sought in the Motion, or if you want the
court to consider your views on the motion, then within fourteen (14) days from the date of
service of this Notice, you or your attorney must:

                1.      File with the Court, at the applicable address shown below, a written
        response pursuant to Local Bankruptcy Rule 9013-1(H). If you mail your response to the
        court for filing, you must mail it early enough so that the court will receive it on or
        before the date stated above.
                                      Clerk’s Office
                                      United States Bankruptcy Court
                                      701 East Broad Street, Suite 4000
                                      Richmond, Virginia 23219
                You must also mail a copy to:
                                      Robert Van Arsdale, Esquire
                                      Office of the U.S. Trustee
                                      701 East Broad Street, Suite 4304
                                      Richmond, Virginia 23219

        2.     If you file such a timely written response, you must also attend a hearing that will
        be scheduled at a later date. You will receive separate notice of any such hearing.


Roy M. Terry, Jr., VSB No. 17764
SANDS ANDERSON PC
P.O. Box 2188
Richmond, VA 23218-2188
Telephone: 804.648.1636
 Chapter 7 Trustee
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       Under Local Bankruptcy Rule 9013-1, unless a written response to the Motion and
supporting memorandum are filed with the Clerk of Court and served on the moving party
within fourteen (14) days of the service of this notice objecting to the relief requested, the
Court may deem any opposition waived, treat the motion as conceded, and issue an order
granting the requested relief without further notice or hearing.



Date: May 15, 2019
                                                     /s/ Roy M. Terry, Jr.
                                                     Roy M. Terry, Jr., VSB No. 17764
                                                     SANDS ANDERSON PC
                                                     P.O. Box 2188
                                                     Richmond, VA 23218-2188
                                                     Telephone: 804.648.1636
                                                      Chapter 7 Trustee




                                      CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of May, 2019, a true copy of the foregoing was
delivered by electronic means and/or mailed first class mail, postage fully prepaid, to the parties
listed on the attached service list.1

                                                     /s/ Roy M. Terry, Jr.




1
  In accordance with Local Bankruptcy Rule 5005-1(C)(8), when service is made on more than 25 persons or parties,
the service list is not attached to copies served on each of the persons or parties, but is attached to the original
Certificate of Service filed with the Court.


                                                         2
